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                                                     Expert Report
                                                     of Adam H. Love, Ph.D.

                                                     United States District Court
                                                     Southern District of Indiana
                                                     Indianapolis Division

                                                     Prepared for:
                                                     Stoll Keenon Ogden PLLC

                                                     Prepared by:
                                                     Roux Associates, Inc.
                                                     555 12th Street, Suite 250
                                                     Oakland, California 94607

                                                     May 21, 2018


                                                                VON DUPRIN LLC,
                                                                     -vs-
                                                        MORAN ELECTRIC SERVICE, INC.,
                                                             MAJOR HOLDINGS, LLC,
                                                        MAJOR TOOL AND MACHINE, INC.,
                                                         and ZIMMER PAPER PRODUCTS
                                                                INCORPORATED

                                                       CAUSE NO. 1:16-CV-01942-TWP-DML
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                    Environmental Consulting
                     Environmental
                          & ManagementConsulting
                           & Management
                       T: +1.800.322.ROUX
                            1-415-967-6000
                           rouxinc.com                                Adam H. Love, Ph.D.
                             rouxinc.com                        Vice President/Principal Scientist
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    A.       Professional Profile of Adam H. Love, Ph.D.




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    Introduction
    My name is Adam Hamilton Love and I am a Vice President and Principal Scientist at Roux Associates, Inc.
    (Roux), located at 555 12th Street, Suite 250, Oakland, California 94607. I have been retained as an expert
    by Stoll Keenon Ogden PLLC of behalf of Moran Electric Service Inc. I was asked to provide opinions with
    regard to the source and release characteristics of the chlorinated volatile organic compounds (CVOC)
    observed in the vicinity of former Moran Motor Shop in Indianapolis, Indiana (Site). I was also asked to provide
    opinions related to the divisibility and relative contributions of the CVOC contamination from the various
    responsible parties at the Site. In this report I present my qualifications, summarize background information
    regarding the matter, describe the methods employed in this analysis, and present my opinions and the bases
    for those opinions. I am compensated at a rate of $300 per hour for this engagement. The documents upon
    which I relied in the preparation of this report are listed in the footnotes of this report.

    The conclusions stated herein represent the application of my education, training, and experience within the
    disciplines of engineering, geology, hydrogeology, chemistry, fate and transport, and environmental forensics
    to the facts and conditions associated with the site involved with this litigation. The conclusions set forth in
    this report are based, in part, upon the facts, information, and data that have been provided to me by Counsel
    and/or which I obtained during the course of my investigation. To the extent that any of the underlying facts,
    information, or data change or are amended, I reserve the right to consider modifying my conclusions and
    opinions, if necessary and appropriate.


    Qualifications
    I hold a Bachelor of Arts degree in Geosciences from Franklin & Marshall College (1996), a Master of Science
    degree from University of California at Berkeley in Material Science and Mineral Engineering (1998), and a
    Doctor of Philosophy degree from University of California at Berkeley in Civil and Environmental Engineering
    (2002). I have over 20 years of experience in environmental forensics, site characterization, remediation, and
    contamination transport analyses.

    From 1996 to 2002, I served as a graduate student researcher at University of California at Berkeley, where
    I participated in contaminant transport and environmental forensic evaluations, including the development of
    new techniques for environmental pollution reconstruction and allocation. From 2002 to 2009, I served as a
    scientist at the Forensic Science Center at Lawrence Livermore National Laboratory. My experience working
    at the Forensic Science Center included: 1) research and development projects – enhancing understanding
    of pollutant characteristics and development of technology for characterization, remediation, and source
    reconstruction/contribution analysis, and 2) operations projects – site applications of contaminant transport
    modeling and source reconstruction/contribution. From 2009 to 2013, I served as Principal Scientist at
    Johnson Wright, Inc., where I provided consultation services to various private companies and the federal
    government. I led Johnson Wright’s Environmental Forensics practice, where I performed and oversaw
    corporate best practices for determination of source, timing, and allocation analyses at contaminated sites.
    Since 2013, I have served as Principal Scientist at Roux, where I am currently the corporate Practice Area
    Leader for Litigation Services and continue to provide consultation services to various companies, state and
    local municipalities, and federal agencies regarding site investigations, remediation, exposure assessment,
    and environmental forensics.

    I have been involved in numerous projects across the United States involving the site assessment and
    remediation of tetrachloroethylene and/or trichloroethylene, other chlorinated solvents, and the degradation
    products of chlorinated solvents. I have performed site assessments of properties contaminated with
    chlorinated solvents and have determined the source and nature of release for trichloroethylene site
    contamination at numerous locations using various environmental forensic approaches. I am currently




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    involved in projects that involve trichloroethylene site contamination in California, Washington, North
    Carolina, Alabama, Kansas, and Arizona. More generally, I have evaluated the environmental fate and
    transport of a variety of pollutants such as organic solvents, toxins, petroleum hydrocarbons, metals, and
    radionuclides present in soil, sediment, groundwater, biota, and man‐made materials. I have previously been
    retained as a testifying expert witness with regard to a range of issues that include determination of
    contaminant fate, transport, pollution source, release timing, and allocation. My expert testifying appearances
    within the last 4 years are listed below.

          •     Crown Central, LLC v. Petroleum Marketing Investment Group, LLC, et al. Circuit Court for Baltimore
                County, Maryland. Case No. 03-C-16-010774 CN. Deposition December 19,2017. Expert
                Declaration. Rebuttal Declaration.
          •     Sunflower Redevelopment, LLC v. Illinois Union Insurance Company. United States District Court,
                Western District of Missouri, Western Division. Case No. 4:15-cv-00577-DGK. Deposition November
                10, 2017. Rebuttal Report. Supplemental Report.
          •     Insurance Company of the State of Pennsylvania v. County of San Bernardino. United States District
                Court, Central District of California. Case No. 5:16-cv-00128-PSG-SS. Deposition June 15, 2017.
                Expert Report. Rebuttal Report.
          •     Lennar Mare Island, LLC v. Steadfast Insurance Company. United States District Court, Eastern
                District of California, Sacramento Division. Case No. 2:12-cv-02182-KJM-KJN. Case No.2:16-cv-
                00291-KJM-CKD860. Deposition May 26, 2017. Expert Report. Supplemental Report.
          •     860 Kaiser, LLC v. Green’s Cleaners, Inc., Napa County Superior Court. Case No: 26-63995.
                Deposition January 11, 2016, September 12, 2016. September 26, 2016. Expert Declaration.
          •     Lewis v. Russell, United States District Court, Eastern District of California. Case No. CIV. S-03-
                02646 WBS AC. Deposition July 20, 2016. Expert Report. Rebuttal Report. Supplemental Report.
          •     Goldberg v. Goss-Jewett Company, Inc., et al., United States District Court, Central District of
                California. Case No. EDCV14-01872 DSF (AFMx). Deposition May 25, 2016. Expert Report. Rebuttal
                Report.
          •     Union Oil Consolidated Coverage Cases, Los Angeles Superior Court. Case No: BC 271474.
                Deposition November 20, 2014. Expert Report.

    Please also refer to my resume, which is attached as Exhibit A.




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    Background
    Site Description
    The Site lies within the City of Indianapolis, Indiana, roughly encompassed by Sheldon Street on the east,
    Interstate 70 on the south, North College Avenue on the west, and East 21st Street on the north (Figure B-1).
    Groundwater in this area is characterized by a chlorinated volatile organic compound (CVOC) plume that
    extends in a southwest direction over a distance approaching one mile. The CVOCs encountered
    groundwater include tetrachloroethene (PCE), trichloroethene (TCE), cis-1,2-dichloroethene (cis-1,2-DCE),
    and vinyl chloride. Significantly elevated concentrations of PCE and TCE have been observed in some Site
    vicinity monitoring wells, exceeding 10,000 µg/L at certain locations.

    Source areas associated with these properties include properties characterized by known or suspected
    historical CVOC chemical usage and by detections of significant CVOC concentrations in shallow soil above
    the groundwater table.

    Four responsible parties (RPs) were identified in the area near the former Moran Motor Shop (area
    designated as Upgradient Area and shown in Figure B-1) where a variety of past industrial activities occurred
    over decades of operations:

          •     The former Ertel building, occupying the western portion of the block delineated by the east side of
                Dr. Andrew J. Brown Avenue, and East 20th and East 21st Streets;
          •     The Moran Motor Shop and Moran Dynamometer Building property, located on the east side of Dr.
                Andrew J. Brown Avenue and south of the former East 20th Street;
          •     The Zimmer building, located west of Sheldon Street and north of the former East 20th Street;
          •     The former Zimmer Paper building, located north of former East 20th Street and east of the former
                Ertel building.

    One additional RP was identified immediately down groundwater gradient of the area near the former Moran
    Motor Shop and Moran Dynamometer Building property (area designated at Von Duprin/Threaded Rod
    property - referred to as the Von Duprin site - also shown in Figure B-1) located within the block delineated
    by East 20th Street, Dr. Andrew J. Brown Avenue, East 19th Street, and Columbia Avenue.

    Site History and Previous Site Investigations
    Ertel Building
    The former Ertel manufacturing facility operated from the 1890s through 2001 and contained a machine shop
    and aluminum and iron foundries.1 The building was subject to a number of expansions during its operating
    history. A variety of potential CVOCs have been documented at the Ertel site, both during operations and
    after abandonment. Industrial activities at the site included automotive parts manufacturing which are
    reasonably expected to have included the use of CVOC degreasers. Ertel filed biennial hazardous waste
    reports for the periods of 1984-1985 and 1986-1987, reporting disposal of over 770 pounds of PCE during
    each period. 2




    1 Heartland Environmental Associates, Inc., Site Status Update submitted to Indiana Department of Environmental
    Management, May 30, 2012; p. 1.
    2 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.

    Brown Avenue, Indianapolis, IN, July 29, 2014; p 6-8.




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    The U.S. Environmental Protection Agency (USEPA), the Indiana Department of Environmental Management
    (IDEM), and the City of Indianapolis began investigating the site in 2005.3 The USEPA reported that,

                The interior of the Ertel facility contains hundreds of drums, vats, tanks, and containers with
                unknown contents, and the entire floor is covered with a sludge-like material. Numerous
                tanks are also present on the exterior of the Ertel building”.4

    A number of utility corridors – potential conduits for released CVOCs – serviced the site near the southern
    boundary along the former East 20th Street as well as to the west along Dr. Andrew J. Brown Avenue.5

    The site was subject to a USEPA-mandated Immediate Removal Action in 2006. As part of the property
    redevelopment 2007, the removal of approximately 37,000 tons of soil occurred in order to remove soil with
    contaminants above IDEM default closure levels.6 It has since been redeveloped by Major Tool and Machine,
    Inc., with a new building constructed on the premises.7

    Moran Motor Shop and Moran Dynamometer Building
    The site of the former Moran Motor Shop is located to the south of the Ertel building site, on the opposite
    side of the former East 20th Street. The Moran facility was established in 1927 at the site of a former gas
    station. The building was subsequently expanded several times, including assimilation of the former Karpex
    Rubber Products facility to the south. The resulting operation was designated as the Moran Dynamometer
    Building.8

    TCE was used historically for degreasing operations at the Moran Motor Shop facility;9 degreasing operations
    were reported to have occurred in the 1960s and 1970s. There are conflicting reports of degreasing using
    TCE in the Moran Dynamometer building.10 11 Two degreaser units were operated by Moran and consisted
    of stainless steel containers placed within below-grade, concrete-lined pits. Purported instances of spillage
    during operations or cleaning, as well as overspray, may have contributed to releases of CVOCs at the
    facility.12

    Site buildings were demolished in 2009. Remedial activities included the removal of approximately 4,600
    tons of impacted soil from depths above 15 feet from the site in 2011. 13



    3 Indiana Department of Environmental Management (IDEM), Agreed order in the Matter of Ertel Manufacturing
    Corporation, July 8, 2011; p. 5.
    4 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.

    Brown Avenue, Indianapolis, IN, July 29, 2014; p. 6.
    5 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.

    Brown Avenue, Indianapolis, IN, July 29, 2014; p. 4-5.
    6 Quality Environmental Professionals, Inc. Soil Remediation Completion Report. Former Ertel Manufacturing Facility

    2045 Dr. Andrew J. Brown Avenue, Indianapolis, Indiana. May 29, 2008.
    7 Heartland Environmental Associates, Inc., Site Status Update submitted to Indiana Department of Environmental

    Management, May 30, 2012; p. 1.
    8 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.

    Brown Avenue, Indianapolis, IN, July 29, 2014; p. 13.
    9 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.

    Brown Avenue, Indianapolis, IN, July 29, 2014; p 13-16.
    10 Deposition of Michael Sharkey. Major Tool and Machine, Inc. v. Moran Electric Service, Inc. et al. August 12, 2016.

    p. 117, 121, 239, 241, 247-248.
    11 Wilcox Environmental Engineering. Evaluation of Chlorinated Solvent Contamination. Vicinity of 1931 Dr. Andrew J.

    Brown Avenue Indianapolis, IN. July 29, 2014. p. 13-14.
    12 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.

    Brown Avenue, Indianapolis, IN, July 29, 2014; p. 13.
    13 Heartland Environmental Associates, Inc., Soil Remediation Completion Report, January 20, 2012; p. 1.




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    Zimmer Building
    The Zimmer building is located east (upgradient) from the Ertel building and northeast of the Moran Motor
    Shop. Zimmer occupied the building beginning in 1936. 14 A parts washer, located in the building’s
    maintenance department, was in use from approximately 1997 through at least early 2012. An unknown
    solvent was used in the washer, which was serviced by Cintas and subsequently by Safety Kleen.

    Transamerican Freight Lines was located between the Zimmer building and Sheldon Street between 1950
    and 1969. Motor Truck Storage operated in the southern portion of this location by 1969. Specific use of
    CVOCs at this location is undocumented.15

    Zimmer Paper Building
    The former Zimmer Paper building was located north of former East 20th Street, adjacent to the Ertel building.
    Past operations are believed to have been related to automotive machining operations at the Ertel building
    and for chemical storage.16 The building was modified multiple times before final demolition in 2007.17 Zimmer
    Paper Products operated the building from 1986 through 2006. According to one account, “Dozens of 55
    gallon drum and 5 gallon buckets of unknown substances were observed throughout the building”.18 A
    separate assessment observed:

                Based on data showing an extensive release of COCs from the Zimmer Paper UST and the
                corresponding absence of post-remediation confirmation data, the Zimmer Paper UST area
                [has been identified as] as potentially the most significant remaining upgradient COC
                source.”19

    A former 16,000-gallon underground storage tank containing residual sludge material was removed from the
    site in 2007, along with approximately 7,350 cubic yards of soil. The former building at the site had been
    demolished sometime prior to the removal activity.20

    Threaded Rod/Von Duprin Site
    The Threaded Rod site, 1929 Columbia Avenue, is located southwest, or hydraulically downgradient in
    groundwater, of the Upgradient Area sites (Figure B-1). Portions of the property were first developed for
    industrial use in 1910, with the Atlas Engine Company conducting heat treating operations at the site from
    1912 until its bankruptcy in 1914. Subsequently, Owens Heat Treating operated at the site until at least 1950.
    Paramount Hardware also conducted foundry and finishing operations at the site from at least 1937 until
    1969. In the mid-1950s, Von Duprin began electroplating operations at the site and acquired the nearby
    Paramount property in 1975. Threaded Rod acquired the site in 1986 and TRC, Inc. began leasing the site
    in 2008.21,22


    14 IDEM, Comfort Letter: Former Zimmer Custom-Made Packaging Facility, May 16, 2013; p. 2.
    15 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.
    Brown Avenue, Indianapolis, IN, July 29, 2014; p. 11.
    16 Quality Environmental Professionals, Inc. (QEPI), Underground Storage Tank Closure Report, Former Zimmer Paper

    Parcel, December 12, 2007; p.1.
    17 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.

    Brown Avenue, Indianapolis, IN, July 29, 2014; p 9-10.
    18 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.

    Brown Avenue, Indianapolis, IN, July 29, 2014; p. 9.
    19 Geosyntec Consultants, Upgradient Delineation Investigation Report, November 2015; p. 16.
    20 Quality Environmental Professionals, Inc. (QEPI), Underground Storage Tank Closure Report, Former Zimmer Paper

    Parcel, December 12, 2007; p.3-6.
    21 August Mack Environmental, Further Site Investigation Report, Threaded Rod Site, October 18, 2013; p. 2.
    22 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.

    Brown Avenue, Indianapolis, IN, July 29, 2014; p. 16.




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    While any CVOC use by Threaded Rod in its processes is undocumented, chlorinated solvents were
    historically used at the site by Von Duprin.23 A former employee reported that Von Duprin utilized chlorinated
    solvent in a Detrex vapor degreaser as part of its operations,24 and its Director of Global EHS Compliance
    acknowledged that operations of such a degreaser would have the potential for releases both as drips on an
    ongoing basis and as spills during solvent transfer.25 The Director of Global EHS Compliance also
    acknowledged that the observed PCE and TCE soil impacts 2 to 4 feet below the facility indicate a release
    occurred in that area.26

    Site Geology and Hydrogeology
    The Site vicinity is located proximal to the White River Valley outwash basin. The IGS Geologic Atlas of
    Marion County describes the hydrogeologic setting as consisting of: “variable thicknesses of sand and gravel
    overlying complexly interbedded sand and gravel and till”. Exploratory boring logs advanced in the area are
    consistent with this general description, with the uppermost sedimentary materials containing a large
    proportion of coarse-grained sands. Fill material (typically coarse-grained sand with also occasional brick
    and wood fragments) is also encountered.27 A basal clay layer is also reported at a depth of approximately
    40 to 50 feet throughout the Site vicinity.28

    Groundwater is typically encountered at a depth of approximately 10-15 feet.29,30. Groundwater flow is toward
    the southwest.31




    23 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.
    Brown Avenue, Indianapolis, IN, July 29, 2014; p. 16-17.
    24 Deposition of Michael Fye. February 25, 2015. Threaded Rod vs. American Fire and Casualty. Marion County

    Superior Court, Environmental Division. Cause No.· 49F12-1005-MI-022669. Page 41, 51-52, 61-62.
    25 Deposition of Russell Eiler. October 18, 2017.Von Duprin LLC vs. Moran Electric Services, Inc, et al. United States

    District Court, Southern District of Indiana, Cause No. 1:16-CV-01942-TWP-DML. Page 43, 46, 48.
    26 Deposition of Russell Eiler. October 18, 2017.Von Duprin LLC vs. Moran Electric Services, Inc, et al. United States

    District Court, Southern District of Indiana, Cause No. 1:16-CV-01942-TWP-DML. Page 54.
    27 Enviroforensics, CVOC Distribution and Source Area Evaluation, 1929 Columbia Avenue Site and Vicinity, May

    2012; p. 2.
    28 Geosyntec Consultants, Upgradient Delineation Investigation Report, Former Threaded Rod Facility, November

    2015; p. 8.
    29 Enviroforensics, CVOC Distribution and Source Area Evaluation, 1929 Columbia Avenue Site and Vicinity, May

    2012; p. 2.
    30 Geosyntec Consultants, Upgradient Delineation Investigation Report, Former Threaded Rod Facility, November

    2015; p. 8.
    31 Enviroforensics, CVOC Distribution and Source Area Evaluation, 1929 Columbia Avenue Site and Vicinity, May

    2012; p. 3.




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                                                                       Upgradient Area
                                                                                            Former Ertel building
                                                      Former Below                          Former Zimmer
                                                      Cleaners                              building
                                                                                            Former Zimmer Paper
                                              Former Burgess                                building
                                              Plating

                                  Former Wash-                                       Former Moran Motor Shop
                                  Rite Dry Cleaning

                                                                     Von Duprin/Threaded
                                                                     Rod property




    Figure B-1: The Site vicinity, with Upgradient Area and individual PRPs indicated. Properties indicated with
    italicized font, north of the plume, are included for reference and are not considered as RPs. Contours
    depicted interpolated total CVOCs in groundwater, averaged across all depths and sample dates since 2004,




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  Opinions and Bases for Opinion
  Opinion 1:
        •     There is not a continuous geologic layer that prevents chlorinated
              solvent releases from the Von Duprin site from reaching deeper
              groundwater.
  Both soil and groundwater beneath the Von Duprin site are characterized by elevated concentrations of PCE
  that are appreciably higher than those observed elsewhere in the Site vicinity. Moreover, two lines of
  evidence support the notion that PCE was introduced into the subsurface at the Von Duprin site as a dense,
  non-aqueous phase liquid (DNAPL), and that the lack of a contiguous low-permeability zone facilitated its
  downward migration and mixing with CVOCs migrating through groundwater beneath the site from
  upgradient. These lines of evidence include:
        1. The vertical distribution of high dissolved concentrations of PCE in groundwater beneath the Von
           Duprin site (Figure 1-1) is consistent with percolation of DNAPL from the ground surface to the base
           of the aquifer, a transport mechanism suggested for CVOCs in portions of the Site vicinity. One Site
           vicinity site investigation report states 32: “Although precise subsurface conditions across the entire
           study area are not illustrated in these figures …, cross section A-A’ shows clearly two conditions: 1)
           Discontinuous layers of low-permeability clay are present within the primary sand unit or materials;
           and 2) CVOC concentrations in groundwater increase with depth across the study area,” the latter a
           potential indicator of DNAPL per EPA guidance.33
        2. A geologic cross section based on boring logs indicates a contiguous expanse of sandy (i.e.,
           relatively permeable) material from near the ground surface to a clayey aquitard at a depth of
           approximately 683 to 687 feet in an area characterized by high groundwater PCE concentrations
           (Figure 1-2). One of the depth-discrete well locations indicated on this cross section as being placed
           within this contiguous sandy zone – TRMW-9D and TRMW-9DD – is characterized by high maximum
           historical observed concentrations of PCE (14,500 μg/L and 5,300 μg/L, respectively).

  Taken together, the presence of a vertically-contiguous sand and evidence supporting DNAPL migration to
  the base of the aquifer strongly indicate that an extensive geologic impediment to vertical CVOC transport
  does not exist at the Von Duprin location.




  32 Enviroforensics, CVOC Distribution and Source Area Evaluation, 1929 Columbia Avenue Site and Vicinity, May
  2012; p. 6.
  33 USEPA, Estimating Potential for Occurrence of DNAPL at Superfund Sites, Publication 9355.4-07FS, January 1992.




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                         SW                                                                                NE




                          SW                                                                               NE




                          SW


                                                Von Duprin site   Upgradient Area




                                                                                                    NE




  Figure 1-1. Top: depictions of PCE and TCE groundwater concentrations in cross-sectional view (orientation
  given in inset) along plume axis;34 bottom: distributions of PCE in soil, as contoured zones on ground surface,
  and groundwater (symbols) across the Site vicinity, as viewed from southeast. Soil concentrations reflect
  time-averaged data collected above a depth of 10 feet (i.e., unsaturated zone above the water table). Time-
  averaged groundwater log PCE concentrations are interpolated in the bottom figure using three-dimensional
  inverse distance weighting and are plotted using Voxler (Golden Software, LLC).



  34Geosyntec Consultants, Additional Downgradient Investigation Report, Former Threaded Rod Facility, January 2016;
  Figures 12a and 12b.




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           SW                                                                                                            NE




  Figure 1-2: Geologic Cross Section B-B’;35 elevated concentrations of PCE ranging between 5,300 μg/L and
  14,500 μg/L have been detected in the deeper screened intervals of the TRMW-9 nested well structure
  (indicated by red circle).




  35   August Mack Environmental, Further Site Investigation Report, Threaded Rod Site, October 18, 2013; Figure 9.




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  Opinion 2:
        •     The areas of chlorinated solvent contamination can be divided based
              on geographic and chemical characteristics and then apportioned to
              appropriate RPs based on those divisions.
  Industrial operations across the Site vicinity RPs extend over many decades, with few if any records available
  with which to calculate specific CVOC handling or disposal quantities. Soil and groundwater monitoring data
  at the locations where RPs operated are available only from relatively recent years. Moreover, the resulting
  CVOC plumes stemming from different sources across the Site vicinity are co-mingled (Figure 2-1 panels).
  Therefore, integrated historical CVOC quantities based on distinct groundwater plumes also cannot be
  discerned.

  In addition, the widespread presence of the reductive dehalogenation transformation products cis-1,2-DCE
  and vinyl chloride and the shift downgradient in the general concentration distributions of these two chemicals
  relative to those of PCE and TCE indicates widespread CVOC degradation has occurred in the groundwater.
  Decades of research on reductive dehalogenation of CVOCs indicates reaction rate half-lives that are
  typically on the order of a few years.36 Consequently, given the relevant period of operations when CVOC
  releases are suspected to have occurred within the Site vicinity, the CVOC plumes are reasonably expected
  to have stabilized, with much of the historical CVOC mass in groundwater already degraded away.

  As a result, the divisibility of the applicable groundwater impacts are most accurately apportioned through
  calculations of the source area intensity based on the relevant environmental concentrations of CVOCs
  indicated in monitoring data.37 The apportionment methodology was as follows:

        1. Distinct geographic delineation. For CVOC groundwater plumes in the Site vicinity, geographic
           delineation pertains to those source areas that are positioned upgradient in the groundwater
           compared to source areas downgradient in the CVOC groundwater plumes, as distinct downgradient
           source areas did not contribute CVOCs to upgradient locations in groundwater. The mass of CVOCs
           in groundwater can therefore be reliably apportioned to the relevant upgradient RPs.
        2. Distinct soil CVOC concentrations in suspected source areas. Soil CVOC concentrations at each
           location of RP operations are less subject to co-mingling and reductive dehalogenation 38 than
           CVOCs in underlying groundwater. Since the spatial and extent and magnitude of CVOC impacts at
           each site of RP operations is reasonably expected to remain distinct, and the groundwater impacts
           are expected to be a direct result of infiltration of CVOCs from the soil to the groundwater (the initial
           point of release from surface spills, leaking storage tanks, utility lines, etc.), the amount of soil
           contamination at the location of each RP operations is a reliable method for apportioning CVOC
           contribution to the underlying groundwater. 39 Integration of CVOC concentrations in the unsaturated
           zone provide a distinct measure of the source area intensity of the CVOC for each RP. CVOC source
           area intensity enables the Upgradient Area CVOC groundwater impacts to be apportioned where
           CVOCs are co-mingled in the groundwater underneath multiple, juxtaposed distinct source locations.


  36 U.S. Department of Interior. U.S. Geologic Survey. Description, Properties, and Degradation of Selected Volatile
  Organic Compounds Detected in Ground Water—A Review of Selected Literature. Open File Report 2006-1338. 2006.
  p. 17.23.
  37 Apportionment calculations described in this document derive from groundwater and soil CVOC monitoring data

  collected in the Study Area since 2004.
  38 Reductive dehalogenation is theoretically less likely in unsaturated soil because access to atmospheric oxygen via

  diffusion may suppress the development of the prerequisite anaerobic conditions.
  39 The apparent localized hotspots of TCE upgradient of the Von Duprin property (east of Dr. Andrew J. Brown Avenue)

  evident in the contour plot shown on Figure 2-3 are likely attributable to releases from old sewer lines, as discussed by
  Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.
  Brown Avenue, Indianapolis, IN, July 29, 2014; p. 4-5.




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        3. Identification of distinct CVOC chemical composition and intensity in groundwater. For CVOC
           groundwater plumes in the Site vicinity, the CVOC chemical composition from the Von Duprin site is
           distinct from upgradient CVOC source locations because it consists largely of PCE, whereas the
           CVOCs from upgradient direction is characterized primarily by TCE. Moreover, because of reductive
           dehalogenation of CVOCs, the concentrations of both TCE and cis-1,2-DCE are also distinctly
           elevated beneath the Von Duprin site (Figures 2-2 through 2-4) because of PCE degradation in
           groundwater. Thus, the groundwater CVOC plume shows a distinct increase in total CVOC
           concentrations beneath the Von Duprin site compared to the CVOC concentration in groundwater
           from upgradient sources. This distinct change in chemical composition and intensity in groundwater
           beneath the Von Duprin site provides a reliable basis distinguish CVOC contributions between the
           Von Duprin site and upgradient sources40 (see Opinion 3).




  40 The alternative explanation for the individual plumes shown on Figures 2-3 through 2-4 would be a coincidental
  juxtaposition of a detached, predominantly-TCE plume from upgradient with a local PCE source, extraordinarily aligned
  in space and time to seemingly overlap. This represents a far less likely explanation because of the very high element
  of chance alignment required.




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  Figure 2-1: (a) Time- and depth-averaged PCE concentrations in groundwater across the Site vicinity,
  interpolated and displayed using logarithmic scaling; top, and (b) time- and depth-averaged log-transformed
  TCE groundwater concentrations across the Site vicinity; bottom.




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  Figure 2-1, continued: (c) time- and depth-averaged log-transformed cis-1,2-DCE groundwater
  concentrations across the Site vicinity; top, and (d) time- and depth-averaged log-transformed vinyl chloride
  groundwater concentrations across the Site vicinity; bottom.




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  Figure 2-2: Time- and depth-averaged groundwater PCE concentrations in a subset of the Site vicinity near
  the upgradient area and extending downgradient past the Von Duprin site. Concentrations were interpolated
  on log-transformed data using a kriging algorithm provided by Surfer (Golden Software, LLC) using default
  parameter values; the contour map was generated by transforming the resultant interpolation grid back to
  linear space.




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  Figure 2-3 Comparison of interpolated groundwater PCE (top) and TCE (bottom) concentrations that is
  indicative of overlap between areas of elevated values near the Von Duprin site. TCE concentrations,
  superimposed upon the corresponding PCE distribution, were interpolated using the identical methodology
  to PCE (Figure 2-2). Colored contour lines are scaled to increasing concentration, from cool to warm colors.
  Red box indicates area of suspected TCE sewer releases from up sewer gradient.




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  Figure 2-4: Comparison of interpolated groundwater PCE (top) and cis-1,2-DCE (bottom) concentrations that
  is indicative of overlap between areas of elevated values near the Von Duprin site. cis-1,2-DCE
  concentrations, superimposed upon the corresponding PCE distribution, were interpolated using the identical
  methodology to PCE (Figure 2-2). Colored contour lines are scaled to increasing concentration, from cool to
  warm colors.




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  Opinion 3:
        •     Based on the divisibility of CVOC contamination, the allocation of
              CVOC contribution from the RPs is Von Duprin 54%, Zimmer 29%,
              Ertel 14%, and Moran 3%.
  As described under Opinion 2, reductive dehalogenation has significantly altered the composition of the
  CVOC plume in portions of the Site vicinity. Reductive dehalogenation effects are reasonably expected to
  degrade PCE into TCE, and TCE to other degradation products at locations across the Site vicinity. Thus,
  the most reliable method for apportioning overall CVOC contributions it to base the apportionment
  calculations on the sums of contributed concentration of individual CVOCs.

  Contribution from Von Duprin Site
  Because of the unique chemical composition of the CVOC plume in the vicinity of the Von Duprin site and its
  position downgradient of the Upgradient Area sources, separation of the Von Duprin site’s potential
  contribution to the overall CVOC mass represents the initial step in the apportionment process. As first
  introduced under Opinions 1 and 2, a substantial CVOC mass input occurs under the Von Duprin property,
  adding to the increase in concentrations of CVOCs migrating beneath the site from upgradient (Figure 3-1).
  The chemical composition of the CVOC groundwater plume is also locally modified as it passes beneath the
  property.

  Monitoring well TRMW-9DD represents the most upgradient location on the Von Duprin property where this
  change in the CVOC plume is observed. Therefore, this location represents a logical delineation point at
  which the upgradient and downgradient portions of the overall Site vicinity CVOC plume are readily divisible.
  Locations north and east of TRMW-9DD are upgradient of impacts from the unique chemical composition
  from the Von Duprin site and, consequently, are presumably free of any significant CVOC mass input from
  the Von Duprin site. Locations to the south and west are effectively downgradient of the Von Duprin site and
  thus potentially subject to CVOCs introduced into groundwater from the property. Numerical integration of
  the interpolated total CVOC groundwater concentrations41 across the entirety of the Site42 vicinity plume, as
  well as downgradient portion of the CVOC plume43 as defined above, indicate that approximately 87 percent
  of the time- and depth-averaged groundwater CVOC mass, using data collected since 2004, resides within
  the downgradient plume.

  The second step in apportioning the mass input from the Von Duprin site to the downgradient plume as
  defined above is to apportion the site’s contribution to the CVOC plume as it migrates underneath the
  property. Two sets of groundwater monitoring locations, both monitoring wells and direct sample points, are
  shown on Figure 3-2. As indicated in the figure caption, one set represents downgradient locations on the
  Von Duprin site characterized by time- and depth-averaged groundwater PCE concentrations that exceed
  500 μg/L. A second set, located upgradient of the first, represents wells with TCE concentrations that exceed
  500 μg/L. Total CVOC concentrations, and notably the PCE concentrations, are lower in the second set
  (upgradient of the Von Duprin site) with respect to the first, as discussed below.



  41 Concentration distributions were log-transformed and interpolated using a kriging algorithm using Surfer (Golden
  Software, LLC) employing default parameters. Contour were generated by transforming back to linear space.
  Numerical integration was conducted using Surfer by the trapezoidal rule.
  42 Approximately 47.2 kg/ft, for all locations above 10 μg/L total CVOCs. As an illustrative example, this would

  correspond to a total of approximately 472 kg of CVOCs, assuming a 30-ft-thick impacted aquifer portion, with a
  porosity of 30 percent.
  43 Approximately 40.9 kg/ft, for all locations above 10 μg/L total CVOCs. As an illustrative example, this would

  correspond to a total of approximately 409 kg of CVOCs, assuming a 30-ft-thick impacted aquifer portion, with a
  porosity of 30 percent.




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  Interpolated soil PCE and TCE concentrations measured at depths less than 10 feet are also illustrated on
  Figure 3-2. Numerical integration44 of the concentration distributions (above 500 μg/kg to avoid contouring
  artifact effects at lower concentrations) for both chemicals45 indicates that approximately three-quarters of
  the CVOC mass in the shallow soil at the site is attributable to PCE (Figure 3-3). Soil concentrations of the
  reductive dehalogenation daughter products cis-1,2-DCE and vinyl chloride are minimal, indicating the
  measured soil concentrations are not simply reflecting groundwater off-gassing of CVOCs into the overlying
  soil.

  Averaged total CVOC concentration distributions (listed on Table 1) are summarized on Figure 3-4 (top
  graph) across the two sets of wells sampling the plume passing beneath Von Duprin site (i.e., Figure 3-2). A
  comparison of the two sets indicates the following observations: (1) total concentrations of CVOCs in the
  downgradient well set are approximately five times larger than those of the upgradient wells, and (2) PCE
  represents a significant fraction of the CVOC groundwater inventory underneath the Von Duprin site but not
  in the incoming, upgradient plume. The latter observation provides the chemical signature indicative that the
  Von Duprin site is a CVOC source and places a lower limit on its apportionment, since the upgradient CVOC
  groundwater plume does not contribute PCE when it reaches the Von Duprin site. Moreover, because some
  TCE is present with PCE in shallow soils at the Von Duprin site (Figure 3-3), an equivalent proportion of the
  TCE in the underlying groundwater must also attributable to a Von Duprin site provenance. As indicated on
  Figure 3-4 (bottom graph), a proportional allotment of TCE in groundwater to the Von Duprin site, based on
  the groundwater PCE concentration and the TCE-to-PCE ratio in the overlying shallow soil (i.e., 1,821 μg/L),
  indicates approximately 63 percent of the CVOCs in groundwater beneath the Von Duprin site are from a
  local source (i.e., 1,821 μg/L TCE + 4,916 μg/L PCE). It must be emphasized that this fraction represents a
  minimum contribution, because some of the PCE and TCE introduced into groundwater at the Von Duprin
  site would have been converted into additional TCE and cis-1,2-DCE via reductive dehalogenation, but are
  not accounted for in this apportionment calculation.

  The posited minimum 63 percent apportionment of the CVOC mass in the downgradient portion of the Site
  vicinity CVOC plume corresponds to approximately 54 percent overall contribution to the plume (i.e. the
  product of 63 percent and 87 percent).

  Allocation Among Upgradient Area Sources
  The remaining 46 percent of the CVOC plume mass in the Site vicinity (i.e., the total CVOC plume mass,
  minus the contribution from Von Duprin), is attributable to the four upgradient RPs: the Ertel building, the
  Moran Motor Shop property, the former Zimmer building, and the Zimmer Paper building. Among these,
  groundwater CVOCs associated with the former Zimmer building, and the north of the Ertel building, are
  geographically separate and effectively upgradient, such that those portions of the Upgradient groundwater
  CVOC mass are divisible. In addition, the CVOC plume located north of the Ertel Building is characterized
  by a different chemical composition than other groundwater in the upgradient source area as it is unique in
  its PCE-enriched chemical composition. Numerical integration46 of these plume areas indicates very small
  mass contributions to the overall Site vicinity CVOC plume, with approximately 0.67 percent for the portion
  of the plume north of the Ertel Building (approximately 0.32 kg/ft) and 0.04 percent for groundwater underlying
  the Zimmer Building (approximately 0.02 kg/ft).

  The remaining approximately 45 percent of the Site vicinity CVOC impacts is associated with three adjacent
  potential sources. However, CVOCs present in groundwater beneath and downgradient of these areas are


  44 Numerical integration was conducted using Surfer by the trapezoidal rule.
  45 Approximately 76.7 gm/kg ft2 for PCE and 28.4 gm/kg ft2 for TCE. As an illustrative example, assuming a soil bulk
  density of 1.6 gm/cm3 and a 10-ft-thick impacted soil zone, these values would correspond to concentrations of 34.7 kg
  and 12.9 kg, respectively.
  46 Numerical integration was conducted using Surfer by the trapezoidal rule.




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  difficult to apportion based on the geographic extent of groundwater concentrations or small difference in
  CVOC chemical characteristics for multiple reasons, including:

        1. The presence of underground sewer lines as well as utility line trenches, much of which is
           uncharacterized, that could have provided preferential transport pathways for CVOCs;47
        2. The local geology underlying each suspected source area, specifically including discontinuous
           lenses of fine-grained sediments that could serve as an impediment to strictly vertical downward
           transport of CVOCs to groundwater; 48
        3. Localized reductive dehalogenation, driven in part by petroleum hydrocarbon compounds from
           leaking underground storage tanks and other sources could serve as potential carbon sources and
           result in differential CVOC degradation in the CVOC plume.

  Instead, CVOC soil concentrations measured above the water table, as described in Opinion 2 are a reliable
  method for apportioning CVOC contribution to groundwater based on source area CVOC intensity. As
  indicated on Figure 3-5, total CVOC concentrations across the Upgradient Area are characterized by a
  distinct zone of elevated concentrations near the Zimmer Paper building location. Lower soil total CVOC
  concentrations are distributed elsewhere, but over a larger area. Numerical integration49 was again used to
  estimate the soil CVOC mass within the approximate footprint of the Zimmer Paper building (approximately
  152 gm/kgft2), as indicated on Figure 3-5, as well as the soil CVOS mass south of the building (i.e.,
  approximately south former 19th Avenue) and east of Dr. Andrew J. Brown for the Moran Motor Shop site
  (approximately 16 gm/kgft2). The remainder of the soil total CVOC mass east of Dr. Andrew J. Brown Avenue
  and south of the north end of the Ertel building was apportioned to the Ertel building (approximately 69
  gm/kgft2). The resulting ratios imply that approximately two-thirds of the 45 percent of the Site vicinity CVOC
  impacts in the Upgradient area can be attributed to the Zimmer Paper building, with the Ertel building and
  the Moran Motor Shop property contributing lesser amounts.

  A summary of the quantitative apportionment for the CVOC groundwater contribution based on the
  methodology described above are summarized on Table 2 (applied separately to the upgradient and
  downgradient portions of the plume with respect to the Von Duprin site, and as a whole): These total allocation
  results are also summarized on Figure 3-6.




  47 Wilcox Environmental Engineering, Evaluation of Chlorinated Solvent Contamination, Vicinity of 1931 Dr. Andrew J.
  Brown Avenue, Indianapolis, IN, July 29, 2014; p. 4-5.
  48 Geosynetic Consultants, Upgradient Delineation Investigation Report, Former Threaded Rod Facility, November

  2015; p. 8.
  49 Numerical integration was conducted using Surfer by the trapezoidal rule.




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           Table 1. Time- and Depth-averaged CVOC Concentrations (μg/L) Among Upgradient and
              Downgradient Groundwater Monitoring Locations Near the Von Duprin Property.

                                          Screen
                                          Interval                                  Cis-1,2-       Vinyl
          Group           Location                     PCE            TCE
                                         Midpoint                                    DCE          Chloride
                                         Depth (ft)

                      TRMW-3                17.5        19             600            121             0.0
                      TRMW-6                17.5         4            1,481            93             0.4
                      TRSB-6/SB-6A          19.5        87             948            212             0.0
                      TRSB-7-7A             19.5        42            1,350            62             0.0
                      TRSB-22A              19.5        149           1,880            12             0.0
       Upgradient
                      TRSB-16               19.5         0            1,450           118             0.0
                      TRMW-6D               27.5         0            1,120           545             3.3
                      HPT-05                31.5         8            2,188          5,485            3.5
                      TRMW-6DD              39.3        22            1,370           223             0.8
                      Average                           37            1,376           764             0.9
                      TRSB-25               19.5        870           2,700           144             0.0
                      TRSB-24               19.5        696           2,820           122             0.0
                      TRMW-9D               28.5       4,054          2,008           677             1.7
                      VAP-21/SB-JTV-1       39.3       8,420          3,555          1,423            8.1
     Downgradient
                      B-332                 40.4      10,119          3,625          1,777           13.3
                      TRSB-32               43.0       1,111          4,395          6,835           14.4
                      TRMW-9DD              44.6       9,141          2,579          8,223           12.8
                      Average                          4,916          3,097          2,743            7.2




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                                        Table 2. Plume Allocation by Area.

                                 Overall
                                                                         CVOC
                     Plume        CVOC                                                    Overall CVOC
                                                Source Areas         Apportionment
                     Section      Mass                                                    Apportionment
                                                                     by Source Area
                               Distribution
                                              Von Duprin                 0.00%                  0.00%
                                              Ertel (main portion)       28.58%                 3.85%
                                              Ertel (N. plume)           1.47%                  0.20%
                Upgradient        13%
                                              Zimmer Paper               63.08%                 8.50%
                                              Zimmer Bldg                0.08%                  0.01%
                                              Moran Motor                6.79%                  0.91%
                                              Von Duprin                 62.64%                54.20%
                                              Ertel (main portion)       10.68%                 9.24%
                                              Ertel (N. plume)           0.55%                  0.48%
              Downgradient        87%
                                              Zimmer Paper               23.57%                20.40%
                                              Zimmer Bldg                0.03%                  0.03%
                                              Moran Motor                2.54%                  2.20%




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  Figure 3-1: Total groundwater CVOC concentration distribution, interpolated using Surfer (Golden Software,
  LLC) employing a kriging algorithm with default assumptions. Concentrations were interpolated on log-
  transformed data; the contour map was generated by transforming the resultant interpolation grid back to
  linear space. The plume extending south and west of well TRMW-9DD at the Von Duprin site is assumed to
  have been influenced mass CVOCs entering groundwater near that location. Dashed white lines represent
  delineations used to integrate interpolated contour lines to derive area-specific mass estimates, as indicated
  by labels.




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                                                                          Well with GW PCE  500 ug/L
                                                                           Well with GW TCE  500 ug/L
                                                                           and PCE < 500 ug/L
                                                                           Soil TCE conc. (ug/kg)
                                                                           Soil PCE conc. (ug/kg)




  Figure 3-2: Shallow soil and groundwater CVOC data near the Von Durpin site. Red symbols depict wells
  with time- and depth-averaged PCE groundwater concentrations exceeding 500 μg/L, whereas blue symbols
  indicate those wells, upgradient of the PCE set, with time- and depth-averaged TCE concentrations
  exceeding 500 μg/L. Red and blue contour lines represent interpolated soil PCE and TCE concentrations
  collected above a depth of 10 feet.




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                                      27%




                                                                             73%




                                                   PCE       TCE

  Figure 3-3: Relative proportions of PCE and TCE in soil above 10 feet depth near the Von Duprin site, inferred
  by numerical integration of soil CVOC concentration contours. Cis-1,2-DCE and vinyl chloride components
  in the sample data set are negligible.




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                                                                  12,000



                                      CVOC Concentration (ug/L)
                                                                  10,000
                                                                                                            2,743
                                                                   8,000
                                                                   6,000                                    3,097

                                                                   4,000
                                                                   2,000                                    4,916
                                                                                 764
                                                                                1,376
                                                                          0
                                                                              Upgradient                  Von Duprin
                                                                                            Source Area

                                                                              PCE     TCE     cis-1,2-DCE



                                                    12,000
                     CVOC Concentration (ug/L)




                                                    10,000
                                                                                    2,743
                                                                  8,000
                                                                                    1,276                    cis-1,2-DCE
                                                                  6,000             1,821                    TCE (Upgradient)
                                                                                                             TCE (Von Duprin)
                                                                  4,000
                                                                                                             PCE
                                                                                    4,916
                                                                  2,000

                                                                     0
                                                                               Von Duprin

  Figure 3-4: Top: composited average CVOC concentrations in groundwater among (a) upgradient, primarily
  TCE-impacted wells, and (b) primarily PCE-impacted wells across the Von Duprin site, as indicated on Figure
  3-2, and, bottom: distributions and provenance of CVOCs in Von Duprin groundwater, as constrained by the
  average soil CVOC makeup as indicated on Figure 3-3. Note: subtracting out TCE attributable to the Von
  Duprin source area results in the remaining TCE concentration attributable to the Upgradient source area
  (1,276) being consistent with the observed being comparable to the average measured TCE in groundwater
  Upgradient (1,376), as shown in Table 1.




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  Figure 3-5: Soil total CVOC concentrations proximal to the upgradient source locations. Concentrations were
  interpolated on log-transformed data; the contour map was generated by transforming the resultant
  interpolation grid back to linear space. Color-coded symbols denote sample locations. The black rectangle
  indicates the spatial extent of contour integration used to quantify the extent of soil impact for the Zimmer
  Paper Building property. The dashed black line indicates the delineation of the Ertel Building contribution
  (north of the line and east of Dr. Andrew J. Brown Avenue, exclusive of the Zimmer paper Building property)
  and the Moran Motor Shop, south of the dashed black line and east of Dr. Andrew J. Brown Avenue.




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      100%                              3.1%

                                       28.9%
         80%
                                                                                    Moran Motor
                                       13.8%
          60%                                                                       Zimmer
                                                                                    Ertel
          40%
                                       54.2%                                        Von Duprin
          20%

             0%


  Figure 3-6: Apportionment of total CVOC mass in groundwater across the entire Site vicinity, based on the
  approach discussed under Opinion 3.




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                                                                                               Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                       Vice President/Principal Scientist, Litigation Practice Leader
       TECHNICAL SPECIALTIES:                                                 M.S., Material Science and Mineral Engineering -
       Dr. Love leads Roux’s Litigation Practice Group and                        Hydrogeology, University of California at Berkeley,
       provides forensic litigation support and expert witness                    Berkeley, CA, 1998; and,
       services to clients throughout the United States on both               B.A., Geoscience, Franklin & Marshall College, Lancaster,
       environmental litigation and environmental insurance                       PA, 1996.
       coverage related matters. Dr. Love’s experience includes
       strategic and technical analysis and guidance regarding                EXPERIENCE SUMMARY:
       numerous complex groundwater, soil, sediment, soil vapor               20+      years   of     experience    in    environmental
       and air contaminated sites. He has also provided expert                science/engineering, use of forensic signatures to
       technical guidance for state legislative actions and federal           determine source and timing of contamination, and
       advisory panels on a range of traditional and non-                     contaminant assessment, transport and remediation.
       traditional environmental hazards. Dr. Love’s expertise                   • Roux Associates, Inc., Vice President, Litigation
       has been developed through a unique variety of University,                Practice Group Leader 2016-Present; Principal Scientist,
       Federal and post-academia work, including developing                      2013-Present.
       leading-edge methods for addressing forensic questions                    • Johnson     Wright      Inc.,   Principal   Scientist,
       related to weapons of mass destruction for the Federal                    Environmental Forensics Practice Leader 2009-2013.
       Government.                                                               • Lawrence Livermore National Laboratory, Principal
                                                                                 Investigator/Scientist, Forensic Science Center, 2002-
       Dr. Love’s areas of expertise include:                                    2009.
       • Environmental forensics (identifying sources and timing                 • California Department of Health Services – Drinking
         of chemical releases);                                                  Water Program/Technical Programs Branch, Standards
       • Chemical/isotopic fingerprinting;                                       and Technology Unit Staff, 2000-2002.
       • Contaminant transport/fate in sediments, soils, water,                  • University of California, Berkeley, Graduate Student
         groundwater, and air;                                                   Researcher/Instructor, 1996-2002.
                                                                                 • Franklin & Marshall College, Undergraduate
       • Divisibility and apportionment of contamination among
                                                                                 Researcher/Laboratory Teaching Assistant, 1994-1996.
         PRPs;
       • Assessments of petroleum (crude oil, diesel, and                     APPEARANCES AND EXPERT REPORTS:
         gasoline), chlorinated and other solvents (PCE, TCE,
                                                                              • Arrow Electronics, Inc. v. Aetna Casualty & Surety Co.,
         TCA, 1,4-dioxane), pesticides, PCBs, PAHs,
                                                                                et al. United States District Court, Central District of
         radionuclides, explosives and heavy metals;
                                                                                California. Case No. 2:17-cv-05247-JFW-JEM. Expert
       • Environmental site characterization and remediation;                   Report. Rebuttal Report.
       • Human (i.e. Toxic tort claims and Prop 65) and                       • Power Authority of the State of New York v. The tug
         ecological exposure assessment; and,                                   M/V Ellen S. Bouchard, et al. United States District
       • Environmental data analysis.                                           Court, Southern District of New York. Case No. 14-cv-
                                                                                4462 (PAC). Expert Report.
       Dr. Love’s capabilities include the use of advanced models             • Crown Central, LLC v. Petroleum Marketing
       and analytic methods to understand and interpret                         Investment Group, LLC, et al. Circuit Court for
       contaminant characterization, transport, and fate for a                  Baltimore County, Maryland. Case No. 03-C-16-010774
       range of applications. By employing multiple lines of                    CN. Deposition December 19, 2017. Expert
       scientific evidence through analyses that couple field                   Declaration. Rebuttal Declaration.
       measurements, fate and transport calculations, and
                                                                              • Sunflower Redevelopment, LLC v. Illinois Union
       historical operations/documents, he provides internally
                                                                                Insurance Company. United States District Court,
       consistent opinions and results. Dr. Love is experienced at
                                                                                Western District of Missouri, Western Division. Case
       creating and evaluating Site Conceptual Models based on
                                                                                No. 4:15-cv-00577-DGK. Deposition November 10,
       an understanding of environmental and engineered
                                                                                2017. Rebuttal Report. Supplemental Report.
       systems that involve a wide range of matrices (i.e. soils,
       sorbents, air, natural waters, constructed materials, and              • Gary Puhr v. PQ Corporation. United States District
       biological tissue).                                                      Court, Northern District of Illinois, Eastern Division.
                                                                                Case No. 16-CV-00728. Expert Report.
       CREDENTIALS:                                                           • Estate of Robert Renzel, Deceased et al. v. estate of
       Post Doctorate, Forensic Science Center, Lawrence                        Lupe Ventura, Deceased, et al. United States District
           Livermore National Laboratory, 2004;                                 Court, Northern District of California. Case No. 4:15-
       Ph.D., Environmental Engineering, University of                          cv-1648-HSG. Expert Declaration.
           California at Berkeley, Berkeley, CA, 2002;                        • Insurance Company of the State of Pennsylvania v.
                                                                                County of San Bernardino. United States District Court,



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                                             E-mail: alove@rouxinc.com | Website: http://www.rouxinc.com
      Case 1:16-cv-01942-TWP-DML Document 135-1 Filed 07/27/18 Page 32 of 36 PageID #:
                                         1231
                                                                                                      Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                             Vice President/Principal Scientist, Litigation Practice Leader
            Central District of California. Case No. 5:16-cv-00128-                  Kalamazoo River Superfund Site, MI – Evaluated the annual total
            PSG-SS. Deposition June 15, 2017. Expert Report.                         suspended solid (TSS) discharges from 14 facilities to the
                                                                                     Kalamazoo River sediments over the 25+ year relevant period
            Rebuttal Report.                                                         of applicable discharges. Allocated TSS discharges to generator
       •    Lennar Mare Island, LLC v. Steadfast Insurance                           facility when secondary facility was used for wastewater
            Company. United States District Court, Eastern District                  treatment. Evaluated changes in facility TSS treatment
                                                                                     efficiency and relative TSS contributions throughout the
            of California, Sacramento Division. Case No. 2:12-cv-                    relevant period.
            02182-KJM-KJN.          Case     No.2:16-cv-00291-KJM-
            CKD860. Deposition May 26, 2017. Expert Report.                          Passaic River (Diamond Alkali) Superfund Site, NJ – Expert Witness.
                                                                                     Evaluated available historical data, performed fate and
            Supplemental Report.                                                     transport analyses, and developed a detailed understanding of
       •    Hanford Challenge, et al., v. Ernest Moniz, et al. United                facility operations to support the facility designation of de
            States District Court, Eastern District of Washington.                   minimis status.
            Case No. 4:15-CV-05086-TOR. Expert Declaration.                          Gowanus Canal Superfund Site, NY – Expert Witness. Evaluated
            Supplemental Expert Declaration.                                         available historical data, performed fate and transport analyses,
                                                                                     and developed a detailed understanding of facility operations
       •    K.C. Jones Plating Company, et al., v. Admiral Insurance                 to support the facility designation of de minimis status.
            Company. United States District Court, Eastern District
                                                                                     San Diego Harbor, CA – Expert Witness. Evaluated available
            of Michigan, Southern Division. Case No. 2:16-cv-                        historical data, performed fate and transport analyses, and
            10790-DML-MKM. Expert Report.                                            developed a detailed understanding of facility operations to
       •    860 Kaiser, LLC v. Greene’s Cleaners, Inc., Napa                         support an Expert Report that evaluated potential metals,
            County Superior Court. Case No: 26-63995. Deposition                     PCBs, and petroleum releases from the Silvergate Power Plant.
            January 11, 2016, September 12, 2016. September 26,                      San Francisco Bay, CA – Collected sediment cores from Naval
            2016. Expert Declaration.                                                Air Station Alameda and performed isotopic and chemical
                                                                                     analyses that enabled reconstruction of historical sediment
       •    Lewis v. Russell, United States District Court, Eastern                  contamination.
            District of California. Case No. CIV. S-03-02646 WBS
            AC. Deposition July 20, 2016. Expert Report. Rebuttal                   Petroleum
                                                                                     Petroleum Transfer Facility, CA – Expert Witness. Prepared an
            Report. Supplemental Report.                                             Expert Report assessing the release of gasoline, diesel fuel, and
       •    Goldberg v. Goss-Jewett Company, Inc., et al., United                    crude oil over 50+ years into the soil and sediment of Avila
            States District Court, Central District of California. Case              Beach, CA. Identified the source and timing of the historical
            No. EDCV14-01872 DSF (AFMx). Deposition May 25,                          contamination and the nature of the releases using multiple
                                                                                     lines of scientific forensic techniques. Performed fate,
            2016. Expert Report. Rebuttal Report.                                    transport and degradation analysis of gasoline, diesel fuel, and
       •    937 York Road, LLC, et al. v. Petroleum Marketing                        crude oil to determine the divisibility of “sudden and
            Group, Inc., et al., Circuit Court for Baltimore County,                 accidental” releases from frequent releases related to facility
            Maryland. Case No. 03-C-14-005988. Expert                                operations.
            Declaration.                                                             Retail Gasoline Stations, CO – Expert Witness. Performed fate,
                                                                                     transport and degradation analysis of gasoline to determine the
       •    State of Colorado, et al., v. Valero Energy Corporation,                 timing of gasoline releases. Prepared an Expert Report
            et al., District Court, City and County of Denver,                       regarding the release of gasoline from 80+ fueling facilities
            Colorado. Expert Report. Rebuttal Report.                                throughout the state.
       •    Union Oil Consolidated Coverage Cases, Los Angeles                       Crude Oil Refinery, CA – Expert Witness. Performed evaluation
            Superior Court. Case No: BC 271474. Deposition                           of timing of release and source of contamination related to
            November 20, 2014. Expert Report.                                        historical refinery operations.
       •    Donegan v. Stubblefield, Rene C. Davidson Alameda                        Used Oil System Collection and Recycling, CA – Expert Witness.
            County Courthouse. RG12628426. Deposition July 26,                       Developed a report for the State of California on how to
                                                                                     improve the state’s used oil recycling program. Provided
            2013. Trial August 8, 2013.                                              testimony to CA State legislature on proposed used oil
       •    Searles Valley Minerals Operations Inc. v. Advanced                      recycling incentive bills. Key technical contributor to
            Steel Recovery Inc., et al., California Ninth District.                  stakeholder discussion on ongoing CalRecycle efforts for
                                                                                     additional used oil recycling improvement.
            Central District Court. 5:2010cv01403. Deposition
            January 25, 2012. Expert Report. Rebuttal Report.                        Retail Gasoline Station, MD – Expert Witness. Performed
                                                                                     evaluation of timing of release and source of contamination
                                                                                     impacting nearby groundwater. Evaluated contaminant
       EXAMPLE PROJECTS:                                                             contributions from adjacent property and both current and
       Sediment Contamination Reconstruction                                         former owner/operator.
           Fox River Superfund Site, WI – Expert Witness. Prepared an                Underground Fuel Oil Tank, NY – Expert Witness. Performed
           Expert Report evaluating the technical bases for a range of               evaluation of timing of release and source of contamination for
           methodologies used to allocate contribution of polychlorinated            fuel oil impacting groundwater.
           biphenyls (PCB) to contaminated sediments. Performed fate
           and transport analyses as the basis for allocation to estimate            Timing of Petroleum Release, Numerous States – Performed fate,
           mass contributions from various PRPs.                                     transport and degradation analysis of gasoline and fuel oil to




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                                                                                                     Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                            Vice President/Principal Scientist, Litigation Practice Leader
        determine the timing of releases at 200+ gasoline station and               Multi-COC Contamination, NJ – Evaluated the available
        fuel oil sites related to environmental insurance claims.                   operation information, site investigation data, and performed
                                                                                    fate and transport analysis to determine the divisibility of the
       Industrial                                                                   COC contamination among PRPs.
        Manufacturing Facilities, CA – Provided litigation support based
        on fate and transport analysis related to timing of groundwater             Multi-COC Contamination, WA – Evaluated the available
        contamination resulting from multiple potential PCE, TCE,                   operation information, site investigation data, and performed
        TCA and 1,4-dioxane releases to groundwater managed by                      fate and transport analysis to determine the divisibility of the
        Orange County Water District. Additional chemical                           COC contamination among PRPs.
        fingerprinting analysis was performed to distinguish on-site               Heavy Metals
        versus off-site contributions of chlorinated solvents and their
        degradation products to the associated groundwater plumes.                  Battery Recycling Facility, CA – Expert Witness. Evaluated available
                                                                                    historical emissions/capacity data, performed fate and
        Industrial Facility, AZ – Expert Witness. Provided litigation               transport analyses, and assessed the extent and magnitude of
        support based on fate and transport analysis related to source              lead and other heavy metals contamination in soils surrounding
        and timing of groundwater contamination resulting from                      the Exide Technologies lead battery recycling facility. Worked
        potential PCE, TCE, and TCA sources.                                        together with lead regulatory agency to develop
                                                                                    interior/exterior assessment and remediation protocols.
        Former Military Facility, CA. – Expert Witness. Evaluated claimed           Analyzed reported results of community blood lead data.
        cleanup actions and costs related to site investigation and
        remediation of a former military site.                                      Steel Manufacturing Facility, CA – Expert Witness. Evaluated
                                                                                    available historical operations, soil lead and arsenic data, and
        Former Military Facility, KS. – Expert Witness. Evaluated claimed           chemical signatures of steel manufacturing from soils within
        cleanup actions and costs related to site investigation and                 and adjacent to the historic steel manufacturing facility.
        remediation of a former military site.
                                                                                    Metal Recycling Facility, CA – Assessed facility compliance with
        Aerospace Facility, CA. – Expert Witness. Evaluated available               DTSC hazardous waste regulations. Negotiated with DTSC on
        historical data, performed fate and transport analyses, and                 behalf of client. Developed plan for hazardous waste
        developed a detailed understanding of facility operations that              treatment/disposal that meets DTSC requirements.
        provide the technical basis for assessing contribution of PCE,
        TCE, and TCA from various operations.                                       Mixed Industrial Region, IN – Evaluated historical operations,
                                                                                    soil lead and arsenic data, and chemical signatures of potential
        Transportation Spill, CA. – Expert Witness. Prepared an Expert              industrial sources with locations on and adjacent to the historic
        Report evaluating the potential ecological impact of an ink spill           industrial manufacturing facilities.
        into a local river.
                                                                                    Metal Plating Facility, IN – Expert Witness. Prepared an Expert
        Former Military Facility, CA. – Performed site investigation of             Report regarding the evaluation of a claimed environmental
        soil and groundwater at a former military site to determine the             release and associated costs that occurred during an electrical
        extent and magnitude of historical solvents and petroleum                   fire at a metal plating facility.
        releases in order to inform remedial strategy.
                                                                                    Mineral Processing Facility, CA – Expert Witness. Prepared an
       Drycleaners                                                                  Expert Report regarding the contribution of an accidental
        Santa Barbara, CA – Expert Witness. Prepared an Expert Report               elemental mercury spill at the Searles Valley Minerals
        assessing sources of PCE contamination to soil and                          Operations Inc. site to the overall historic site contamination.
        groundwater contamination, including drycleaner discharges                  Analyzed invoices and categorized cleanup costs into
        into sewer system and releases at adjacent sites. Rebuttal                  emergency spill costs vs. soil remediation activities.
        Expert Report also assessed the expected remedial costs for
        PCE contamination at and emanating from the site.                          Radionuclides
                                                                                    Radionuclide-containing Products Manufacturing, PA – Expert
        San Jose, CA– Expert Witness. Prepared an Expert Declaration                Witness. Evaluated available historical data, performed fate and
        regarding the potential sources of PCE contamination to soil                transport analyses, and developed a detailed understanding of
        and groundwater contamination and the divisibility of the                   facility operations at the Safety Light Superfund Site that
        contamination from the potential sources.                                   provided the technical basis for recommendations to DOJ on
        Napa, CA – Expert Witness. Prepared an Expert Declaration                   a feasible strategy for and potential allocation of arranger
        regarding the potential sources of PCE contamination to soil                liability. Site contaminated with numerous radionuclides
        and groundwater contamination.                                              (tritium [H-3], strontium [Sr-90], cesium [Cs-137], and radium
                                                                                    [Ra-226]).
        Davis, CA – Expert Witness. Prepared an Expert Report
        regarding the potential sources of PCE contamination of                     Release of Radionuclides from Testing Equipment, OK – Evaluated
        groundwater.                                                                whether the response actions taken were reasonable and
                                                                                    necessary related to the investigation and remediation of a
        Numerous Sites, USA – Evaluation of the source, timing, and/or              cesium [Cs-137] release.
        contribution from multiple PRPs to comingled PCE plumes
        from drycleaner sites related to environmental insurance                    Radionuclide Labeling Facility, CA – Sampled tree rings in the
        claims.                                                                     vicinity of a Lawrence Berkeley National Laboratory stack that
                                                                                    emitted tritium [H-3] and analyzed tree rings in order to
       Landfills                                                                    reconstruct facility emission for >50 years.
        Groundwater solvent plume, CA – Expert Witness. Evaluated the
        available operation information, site investigation data, and              Pesticides
        performed fate and transport analysis to determine the source,              Atrazine, Numerous locations in USA – Provided expert litigation
        timing, and number of release events at landfill operating for              support regarding the fate and transport of atrazine, timing of
        over 50 years.                                                              release, and potential impacts to drinking water sources.




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                                                                                                        Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                             Vice President/Principal Scientist, Litigation Practice Leader
        Glyphosate, Oakland, CA – Provided deposition and trial
        testimony regarding the source of glyphosate contamination                  JOURNAL PUBLICATIONS:
        causing property damage on an adjacent parcel of land based
        on atmospheric transport, technology dispersal capability, site             Environmental Forensics
        conditions, and impact patterns on parcel.                                   Zdon, A.; Davisson, M.L.; Love, A.H. (2018) Understanding
                                                                                        the source of water for selected springs within Mojave
        Trichloropropane (1,2,3-TCP), CA – Evaluated potential sources                  Trails National Monument, California. Environmental
        of trichloropropane groundwater contamination in drinking                       Forensics. 19(2), 99-111.
        water wells.
                                                                                     Dorrance, L.R.; Kellogg, S.; Love, A.H. (2017) What You
       Human Exposure Assessment                                                        Should Know About Per- and Polyfluoroalkyl
        Chemical Vapor Exposure, WA – Expert Witness. Evaluated the                     Substances (PFAS) for Environmental Claims.
        source of chemical vapors and the potential for downwind                        Environmental Claims Journal, 29:4, 290-304.
        vapor exposure to workers.                                                   Shelley, T.M.; Love, A.H. (2015) A Question of Proof: Using
                                                                                        Isotope Analysis and Chemical Fingerprinting to Identify
        School District Astroturf, CA – Collected astroturf samples and                 the Source of Contamination. Environmental Claims
        conducted consumer product testing to provide data which                        Journal, 27:3, 264-275.
        supported the assessment of potential exposure pathways and
        human health risk assessment for children, workers, and                      Zdon, A.; Davisson, M.L.; Love, A.H. (2015) Testing the
        recreational users.                                                             Established Hydrogeologic Model of Source Water to the
                                                                                        Amargosa River Basin, Inyo and San Bernardino
        Caustic Liquid Exposure, MI – Evaluated potential sources of                    Counties, California. Environmental Forensics. 16(4).
        caustic chemical liquids that resulted in worker skin burns.
                                                                                     Love, A.H., J.R. Hunt, J.P. Knezovich. (2004) Improving
        Proposition 65 Phthalates, CA – Collected consumer product                      Tritium Exposure Reconstructions Using Accelerator
        samples and conducted consumer product testing to determine                     Mass Spectrometry. Analytical and Bioanalytical Chemistry.
        potential consumer exposure pathways and magnitude.                             379(2): 198-203.
        Proposition 65 Heavy Metals, CA – Evaluated lead data and                    Love, A.H., B.K. Esser, J.R. Hunt. (2003) Reconstructing
        developed a testing and evaluation plan to determine levels of                  Contaminant Deposition in a San Francisco Bay Marina.
        naturally occurring metals in identified food products.                         Journal of Environmental Engineering. 129 (7):659.
       Explosive and Fire Assessment                                                 Love, A.H., J.R. Hunt, J.P. Knezovich. (2003) Use of
        Forensic Explosive Evaluation, CA – Expert Witness. Collected field             Carbon-14 and Tritium in Tree Rings to Reconstruct
        samples and evaluated chemical and operational information                      Tritium Exposure at Lawrence Berkeley National
        to determine the likely cause of an explosion event at an                       Laboratory. Environmental Science and Technology. 37 (19):
        industrial facility.                                                            4330.
        Forensic Deflagration Evaluation, CA – Expert Witness. Evaluated            Contaminant Fate and Transport
        field reports, inventory, and operational information to                     Kuo, I-Feng; Grant, C.; Gee, R.; Chinn, S.; Love, A.H. (2012)
        determine the likely contributing causes of a deflagration event                Determination of the Surface Effects on Sarin
        that occurred in a transportation vehicle.                                      Degradation The Journal of Physical Chemistry C. 116 (17),
                                                                                        9631–9635.
                                                                                     Love, A.H. (2008) Determining Important Parameters
       ADDITIONAL AREAS OF EXPERTISE AND EXPERIENCE:                                    Related to Cyanobacterial Alkaloid Toxin Exposure.
       Weapons of Mass Destruction Preparation and                                      Advances in Experimental Medicine and Biology. Hudnell, H.
       Response                                                                         Kenneth (Ed.). 619:453-464.
        Provide technical guidance and operational plan reviews for                  Loui, A., Ratto, T.V., Wilson, T.S., McCall, S.K., Mukerjee,
        responding to WMD events. Technical guidance includes                           E.V., Love, A.H., Hart, B.R. (2008) Chemical vapor
        emergency response, site characterization, WMD forensics, site                  discrimination using a compact and low-power array of
        remediation, fate and transport, site closure. Co-led team in                   piezoresistive microcantilevers. The Analyst. 133(5): 608 –
        development of DHS/EPA Federal facility restoration guidance                    615.
        document for critical infrastructure.                                        Love, A.H., M.L. Hanna, P.R. Coronado, J.G. Reynolds
                                                                                        (2005) Engineering surface functions groups on silica
       Development of Chemical/Isotopic Signatures/                                     aerogel for enhanced cleanup of organics from produced
       Fingerprints                                                                     water. Separation Science. 40:311-320.
        Develop and validate new chemical/isotopic fingerprint strategies            Love, A.H., Vance, A.L., Reynolds, J.G., Davisson, M.L.
        as well-as utilize peer-reviewed techniques. Experienced with                   (2004) Investigating the affinities and persistence of VX
        numerous approaches: intended chemical markers and additives,                   nerve agent in environmental matrices. Chemosphere. 57:
        chemical component ratios, degradation analysis, isotope analysis,              1257-1264.
        biomarkers, isomers/congener analysis.
                                                                                    Weapons of Mass Destruction Preparation and
       Chemical Fate and Transport Modeling                                         Response
        Conducts analyses using a variety of industry-accepted                       Campell, C.G.; Kirvel, R.D.; Love, A.H.; Raber, E. (2012)
        approaches, including analytic solutions and numerical models                   Decontamination After a Release of B. anthracis Spores.
                                                                                        Biosecurity and bioterrorism: biodefense strategy, practice, and science
        MODFLOW,           MT3D,         HYDRUS,        BIOCHLOR,                       10(1):108-22.
        CAMEO/ALOHA, CALPUFF, HPAC. Determines aqueous
                                                                                     Love, A.H.; Bailey, C.G.; Hanna, M.L.; Hok, S; Vu, A.K.;
        and/or atmospheric plume migration exposure duration and                        Reutter, D.J.; Raber, E. (2011) Efficacy of Liquid and
        magnitude.                                                                      Foam Decontamination Techniques for Chemical Warfare



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                                         1234
                                                                                                   Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                          Vice President/Principal Scientist, Litigation Practice Leader
           Agents on Indoor Surfaces. J. Hazardous Materials. 196;                     on Soil, Water, Energy, and Air, Forensics Section. March
           115–122.                                                                    2017.
        Watson, A; Hall, L; Raber, E; Hauschild, V.D.; Dolislagerd, F.;
           Love, A.H.; Hanna, M.L. (2011) Developing Health-Based                  Love, A.H.; Dorrance, L. (2016) Lessons in Applying Forensic
           Pre-Planning Clearance Goals for Airport Remediation                       Techniques to Sediment Sites Throughout the US. AEHS
           Following Chemical Terrorist Attack: Introduction and                      26th Annual International Conference on Soil, Water,
           Key Assessment Considerations. Human and Ecological Risk                   Energy, and Air, Forensics Section. March 2016.
           Assessment: An International Journal, 17(1) : 2 – 56.                   Love, A.H.; Zdon, A. (2015) Assessing Limited Water
        Watson, A; Dolislagerd, F.; Raber, E; Hall, L; Hauschild,                     Resources Forensics. AEHS 25th Annual International
           V.D.; Love, A.H. (2011) Developing Health-Based Pre-                       Conference on Soil, Water, Energy, and Air, Forensics
           Planning Clearance Goals for Airport Remediation                           Section. March 2015.
           Following a Chemical Terrorist Attack: Decision Criteria
           for Multipathway Exposure Routes. Human and Ecological                  Love, A.H, Brown, C. (2014) Robust Data Analysis for
           Risk Assessment: An International Journal, 17(1) : 57 – 121.               Utilizing Chemical Data for Forensic Applications. AEHS
                                                                                      24th Annual International Conference on Soil, Water,
        Campbell C.J., Love A.H. (2008) Monitoring Water                              Energy, and Air, Forensics Section. March 2014.
           Resources for Threats to Water Security. New Topics in
           Water Resources Research and Management. Henrik M.                      Love, A.H. (2014) Incorporating Environmental Lines of
           Andreassen (Ed.). Nova Science Publishers, Inc. pp. 195-                   Evidence into Nuclear & Criminal Forensics. Conference
           235.                                                                       on Application of Accelerators in Research and Industry
        Ramkumar, S.; Love, A.H.; Sata, U.R.; Kendall, R.J. (2008)                    (CAARI). May 2014
           Next-Generation Nonparticulate Dry Nonwoven Pad                         Shelley, T.M., Love, A.H. (2014) Prove it! – Using Isotope
           for Chemical Warfare Agent Decontamination. Ind. Eng.                      Analysis to Prove Contamination Source. FETTI
           Chem. Res. 47: 9889-9895.                                                  Conference. October 2014.
       Other Publications                                                          Love, A.H. (2013) Using 1,4 Dioxane as a Forensic Tool at
        Baumann, J.; Oliver, D.H.; Dorrance, L.R; Love, A.H. (2018):                  Solvent Sites. AEHS 23th Annual International
           Approaches to Reduce Conflict when Insuring the                            Conference on Soil, Water, Energy, and Air, Forensics
           Environmental Cleanup of Closed Military Bases                             Section. March 2013.
           Intended for Redevelopment, Environmental Claims
           Journal                                                                 Love, A.H. (2013) Testing the Established Regional Hydrologic
        M.R. Johnson, J.G. Reynolds, Love, A.H. (2008) Improving                      Conceptual Model in the Amargosa River Basin, California
           Used Oil Recycling in California. Contractor Report to the                 and Nevada. National and International Conference on
           California Integrated Waste Management Board. California
           Environmental Protection Agency. May 2008.                                 Groundwater. April 2013.
           Publication #610-08-008.
                                                                                  Contaminant Fate and Transport
        Vogel, J.; Love, A.H. (2005) Quantitating Isotopic Molecular
           Labels with Accelerator Mass Spectrometry. Methods in                   Love, A.H.; Smith, S.E.; Slaughter, J.B.; Connor, P.; Scarcella,
           Enzymology 402:402-22.                                                     M. (2017) Defending Lead Cases: Strategies and Tactics
                                                                                      for a Trending Toxic Tort. DRI Webinar. October 28,
        Chiarappa-Zucca, M.L.; Dingley, K.H.; Roberts, M.L.; Love,                    2017.
           A.H. (2002) Sample Preparation for Quantitation of
           Tritium by Accelerator Mass Spectrometry. Analytical                    Love, A.H.; Hunter, C.; London, M.A.; Swetman, M. (2017)
           Chemistry 74(24):6285-90.                                                  Perfluorinated Chemicals - The Science and Law Behind
                                                                                      PFOA. Environmental Risk & Litigation Conference. June
        Roberts, M.L.; Hamm, R.W.; Dingley, K.H.; Love, A.H.                          20, 2017.
           (2000) A compact tritium AMS system. Nuclear
           Instruments and Methods in Physics Research Section B Beam              Love, A.H.; Smith, S.E.; Connor, P.; Scarcella, M.; Kelso, P.
           Interactions with Materials and Atoms 172(1-4):262-267.                    Get the Lead out! Proactive Risk Measures in Response to
                                                                                      America’s Environmental Crisis. 2017 EECMA
                                                                                      Conference. April 2017.
       SELECTED CONFERENCE PRESENTATIONS:
       Environmental Forensics                                                     Edlin, N.; Love, A.H. (2016) Did Law Kill Science?
                                                                                      Understanding the Impact of Davis v. Honeywell and the
        Dorrance, L.; Love, A.H.; (2018) Outlook of                                   “One Fiber Theory” on Asbestos and Environmental
           Environmental Forensics in Distinguishing Sources                          Cases. FETTI Conference. September 2016.
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                                                            Main: 415.967.6000 | Direct: 415.967.6023
                                                 E-mail: alove@rouxinc.com | Website: http://www.rouxinc.com
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                                                                                                    Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                            Vice President/Principal Scientist, Litigation Practice Leader
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       PROFESSIONAL AFFILIATIONS AND ACTIVITIES:
       •      Editorial Board - Journal of Environmental Forensics
       •      ABA Section of Litigation – Expert Witness Committee
       •      International Society of Environmental Forensics
       •      American Chemical Society (ACS), Member # 2301067
       •      Forensic Expert Witness Association
       •      Bar Association of San Francisco
       •      DRI
       •      Organization for the Prohibition of Chemical Weapons
              (2013 Nobel Peace Prize Recipient), US Analysis Team



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                                                             Main: 415.967.6000 | Direct: 415.967.6023
                                                  E-mail: alove@rouxinc.com | Website: http://www.rouxinc.com
